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                        Appeal No. 25-1566
__________________________________________________________________

          IN THE UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT
__________________________________________________________________

                      Innovis Data Solutions, Inc.,
                          Defendant-Appellant,

                                     v.

                   Atlas Data Privacy Corp., et al.,
                         Plaintiffs-Appellees.
__________________________________________________________________

                            Appeal from the
       United Stated District Court for the District of New Jersey

               District Court Case No. 1:24-cv-04176-HB
__________________________________________________________________

  INNOVIS’S RESPONSE TO THIS COURT’S MAY 6, 2025 ORDER
__________________________________________________________________

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     Defendant-Appellant Innovis Data Solutions, Inc. states that:

     •      On May 5, 2025, Defendant-Appellant We Inform LLC filed a

“Motion to Refer Case to Mediation” in Case No. 25-1555, which most of the

Appellants in related cases joined. Case No. 25-1555, ECF No. 50 at 10 n.1.

     •      Innovis, which is the Appellant in this related case (No. 25-1566),

chose not to join that motion.

     •      On May 6, 2025, this Court issued an Order in Case No. 25-1555

and related cases, which directed Innovis and any other “Appellants who

did not join the motion to tell the Court by May 7, 2025, at 5 pm ET whether

they take a position on the motion.” ECF 51.

     •      In response, Innovis hereby tells the Court that it does not

oppose the motion. It stands ready to provide further information on

request.

                                    Respectfully submitted,

                                    /s/ Jason A. Spak
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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g) and Local

Appellate Rule 31.1, I hereby certify that:

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R. App. P. 32(a)(7)(B), because, according to the word count of the word-

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document (i.e., excluding page 1, the signature on page 2, and everything

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R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6), because it has been prepared using Microsoft Office Word 365 in 14-

point Book Antiqua font;

      3.      The text of this PDF document is definitive, because no paper

copy is required to be filed with the Court; and

      4.      On May 7, 2025, I used Microsoft 365 Office Windows Defender

Antivirus Version 1.427.676.0 to check this PDF document for viruses, and

that program stated that there were “0 threats found.”

                                      /s/ Jason A. Spak
                                      Jason A. Spak
                                      FisherBroyles, LLP
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                        CERTIFICATE OF SERVICE

      I certify that on May 7, 2024, I filed the foregoing RESPONSE with the

Court’s Electronic Case Filing system, which will send a Notice of Electronic

Filing to, and thereby serve process upon, all parties through their counsel

of record.

                                   /s/ Jason A. Spak
                                   Jason A. Spak
                                   FisherBroyles, LLP
